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  A0245D (Rev. 01/07) Judgment in a Criminal Case for Revocation              Sheet I



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                   o or   Revocation of Supervised Release)
                    v.
                                                                   Case Number: 8:97-cr-I 00-T-23MAP
  KENTHON BATSON                                                   USM Number: 21549-018


                                                                   Defendant's Attorney: Laurel Moore, fpd




  The defendant admits committing, and is adjudged guilty of committing, the violations charged in
  numbered paragraphs -1through 3 of the February 21, 2007, petition (Doc. 176).

        Violation                                                                            Date
        Number                         Nature of Violation                              Violation Ended

           1                  Positive urinalysis--Cannabinoids
           2                  Positive urinalysis--Cannabinoids
           3                  Positive urinalysis--Marijuana

 The defendant is sentenced as provided in pages 1through 3 of this judgment. The sentence is
 imposed pursuant to the Sentencing Reform Act of 1984 in consideration of the factors specified in
 18 U.S.C. 5 3553(a), including applicable guidelines and policy statements issued by the United
 States Sentencing Commission.




                                                                      March 29,2007
                                                          Date of Imposition of Sentence


                                                                                             I        I
                                                                                             i
                                                          Steven D. Merryday           \
                                                          UNITED STATES DISTRICT JUDGE



                                                          Date
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  A 0 2450 (Rev. 01/07) Judgment in a Criminal Case for Revocation                  -
                                                                          Sheet 2 Imprisonment

  DEFENDANT:   KENTHON BATSON                                             Judgment - Page 2 of 3
  CASE NUMBER: 8:97-cr-100-T-23MAP




                                                  IMPRISONMENT


  The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned
  for a total term of: FIVE (5) MONTHS.




  The defendant is remanded to the custody of the United States Marshal.




                                                       RETURN

  I have executed this judgment as follows:


  Defendant delivered on                                to                                       at

                                          with a certified copy of this judgment.




                                                                     UNITED STATES MARSHAL


                                                     Bv
                                                                     DEPUTY UNITED STATES MARSHAL
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  A 0 245D (Rev. 01/07) Judgment in a Criminal Case for Revocation:          Sheet 3 - Supervised Release

  DEFENDANT:             KENTHON BATSON                                      Judgment - Page 3 of 3
  CASE NUMBER:           8:97-cr-I 00-T-23MAP



                                            SUPERVISED RELEASE


  The court does not impose a term of supervised release.




                                  STANDARD CONDITIONS OF SUPERVISION

    1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

    2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
       within the first five days of each month;

    3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
       probation officer;

    4) the defendant shall support his or her dependents and meet other family responsibilities;

    5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

    6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
       employment;

    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
       or administer any controlled substance or any paraphernalia related to any controlled substances, except
       as prescribed by a physician;

    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
       or administered;

    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate
       with any person convicted of a felony, unless granted permission to do so by the probation officer;

  10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
      shall permit confiscation of any contraband observed in plain view of the probation officer;

  11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
      by a law enforcement officer;

  12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
      enforcement agency without the permission of the court;

  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
      occasioned by the defendant's criminal record or personal history or characteristics and shall permit the
      probation officer to make such notifications and to confirm the defendant's compliance with such
      notification requirement.
